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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division




    Andrew Chien,

                           Plaintiff,
                                                              Civil Action No. l:17-cv-677
            v.                                                Hon. Liam O'Grady
                                                              Hon. Theresa Buchanan
    Commonwealth of Virginia, et al,

                           Defendants.


                                             ORDER


         This matter comes before the Court on Plaintiffs "Motion for Altering or Amending

 Judgment [Doc.#125 & #126]" (Dkt. 132) and Plaintiffs "Motion of Delaying to Appeal Until

 30 Days After Order of Motion for Altering or Amending Judgment [Doc.#125 & #126]" (Dkt.

 134).

         The first motion, brought under Fed. R. Civ. P. 60, is DENIED. As Plaintiff notes, under

 Rule 60(b), a party may move to alter a final judgment for 1) mistake, inadvertence, surprise, or

 excusable neglect, 2) newly discovered evidence, 3) fraud, 4) the judgment is void, 5) the

 judgment has been satisfied, or 6) any other reason. The moving party must also preliminarily

 show"timeliness, a meritorious defense, a lack of unfairprejudice to the opposing party, and

 exceptional circumstances." Dowell v. State Farm Fire & Cas. Auto. Ins. Co., 993 F.2d 46,48

 (4th Cir. 1993) (quoting Werner v. Carbo, 731 F.2d 204, 207 (4th Cir. 1984)). Plaintiffasserts

 that "[a]nyjudgment having subject error is void due to Rule 60(b)(4)." Plaintiffalleges that the

 Court's Order dismissing the case (Dkt. 126) violatedhis constitutional rights; was negligently,

 wantonly, and recklessly issued; was affected by "partisan interests, public clamor, or fear of
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